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                                     December 28, 2020

FILED VIA ECF

The Honorable Hildy Bowbeer
Magistrate Judge, District of Minnesota
United States District Court
316 N. Robert Street
St. Paul, MN 55101

Re:    In Re Pork Antitrust Litigation (0:18-cv-01776-JRT-HB); Winn-Dixie Stores,
       Inc. v. Agri Stats, Inc., Case No. 19-cv-1578 (JRT/HB); Commonwealth of Puerto
       Rico v. Agri Stats, Inc., Case No. 19-cv-02723 (JRT/HB)

Dear Judge Bowbeer:

Plaintiffs object to the supplemental letter regarding the Rule 16 conference filed by
Defendants on December 23, 2020. (ECF No. 614.) Plaintiffs were not aware or any order
or other directive from the Court permitting the supplemental letter. In response to
Plaintiffs’ inquiry, Defendants informed Plaintiffs on December 24, 2020 that they had
unilaterally contacted the Court to seek permission to file the supplemental letter.
Defendants failed to advise Plaintiffs of their intent to contact the Court or otherwise confer
with Plaintiffs prior to filing the supplemental letter.

For the reasons set forth in the status report (ECF No. 569) and during the December 18,
2020 Rule 16 conference, Plaintiffs’ proposal to file class certification before the close of
fact discovery is consistent with Federal Rule of Civil Procedure 23(c)(1)(A), which
provides that class certification should be filed at “early practicable time after a person sues
or is sued as a class representative.” At class certification “[m]erits questions may be
considered to the extent—but only to the extent—that they are relevant to determining
whether the Rule 23 prerequisites for class certification are satisfied.” Amgen Inc. v.
Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455, 466 (2013).

There is no authority requiring a motion for class certification to be filed after the close of
fact discovery, and there are numerous examples of antitrust class actions in which class
certification was filed prior to the close of fact discovery. (See Exhibits A-E.) Notably, the
examples submitted by Defendants in their supplemental letter do not appear to be antitrust

                      LOS ANGELES        SAN FRANCISCO         MINNEAPOLIS
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                 Law Offices
   P EARSON , S IMON & W ARSHAW , LLP




December 28, 2020
Page 2


class actions, and do not support delaying the filing of class certification until the close of
fact discovery in this case.

Defendants’ claim, that class certification Daubert challenges must be filed after all fact
discovery and class certification briefing, is also without precedent. At class certification,
the Eighth Circuit Court of Appeal has adopted a “focused Daubert analysis which
scrutinized the reliability of the expert testimony in light of the criteria for class
certification and the current state of the evidence.” In re Zurn Pex Plumbing Prod. Liab.
Litig., 644 F.3d 604, 614 (8th Cir. 2011). There is no “tactical advantage” to permitting
Plaintiffs and their experts to respond to any attacks on their qualifications and
methodologies. Plaintiffs’ proposed case management schedule provides Defendants with
an opportunity file a reply in support of their class certification Daubert motions to address
any arguments presented by Plaintiffs and their experts. Defendants will also have an
opportunity to file their full Daubert challenges to Plaintiffs’ merits experts after the Court
has ruled on any class certification motions.

Plaintiffs respectfully submit that their proposed case management schedule properly
balances the class certification and merits phases of this case in a manner that is consistent
with the law, provides a realistic deadline for the completion of fact discovery, and does
not result in undue delay.

                                                Very truly yours,

                                                PEARSON, SIMON & WARSHAW, LLP

                                                /s/ Bobby Pouya

                                                BOBBY POUYA

cc:        All Counsel Via ECF
947021.1
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 EXHIBIT A
Case: 1:16-cv-08637
      CASE 0:18-cv-01776-JRT-HB
                    Document #: 3788Doc.
                                     Filed:
                                         61808/28/20
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                                                                          #:260538
Case: 1:16-cv-08637
      CASE 0:18-cv-01776-JRT-HB
                    Document #: 3788Doc.
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                                                                          #:260539
Case: 1:16-cv-08637
      CASE 0:18-cv-01776-JRT-HB
                    Document #: 3788Doc.
                                     Filed:
                                         61808/28/20
                                               Filed 12/28/20
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                                                                          #:260540
Case: 1:16-cv-08637
      CASE 0:18-cv-01776-JRT-HB
                    Document #: 3788Doc.
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                                         61808/28/20
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                                                                          #:260541
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  EXHIBIT B
      CASE
     Case    0:18-cv-01776-JRT-HBDocument
          2:16-cv-01183-TC-DBP     Doc. 618262
                                             Filed  12/28/20
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                                                       09/23/19    9 of118
                                                                Page     of 2




                     IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF UTAH


J THOMPSON, et al., Individually and on
                                           STIPULATED THIRD AMENDED
Behalf of All Others Similarly Situated,
                                           SCHEDULING ORDER
       Plaintiffs,
v.                                         Case No. 2:16-cv-01183-TC-DBP

                                           Honorable District Judge Tena Campbell
1-800 CONTACTS, INC., et al.,
                                           Honorable Magistrate Judge Dustin Pead
       Defendants.
        CASE
       Case   0:18-cv-01776-JRT-HBDocument
            2:16-cv-01183-TC-DBP   Doc. 618262
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                                                       09/23/19   10 of
                                                                Page  2 18
                                                                        of 2



       This Court, having reviewed the parties’ Stipulated Motion (ECF No. 261), hereby enters

this amended scheduling order:

                     Event                           Current Deadline       New Deadline
Deadline to file motion for class                November 14, 2019      December 19, 2019
certification and accompanying expert
Deadline for defendants to file their            February 4, 2020       March 10, 2020
response to plaintiffs’ motion for
class certification and accompanying
Deadline for propounding written fact            March 23, 2020         April 27, 2020
discovery
Deadline for plaintiffs to file their reply in   March 27, 2020         May 1, 2020
support of class certification and rebuttal
Deadline for supplementing discovery             April 3, 2020          May 8, 2020
responses under Rule 26(e)
Fact discovery cut-off                           June 4, 2020           July 9, 2020
Plaintiffs’ initial expert reports due           June 4, 2020           July 9, 2020
Defendants’ expert rebuttal reports due          August 4, 2020         September 8, 2020
Plaintiffs’ reply reports due                    September 25, 2020     October 30, 2020
Deadline for supplementation of disclosures      Unchanged*             Unchanged
under Rule 26(a)(3)
Expert discovery cut-off                         November 4, 2020       December 9, 2020
Deadline for filing dispositive motion(s)        December 4 2020        January 8, 2021
Deadline for response to dispositive motion(s) February 4, 2021         March 11, 2021
Deadline for reply in support of dispositive     March 18, 2021         April 22, 2021
    i ()                                         TBD                    TBD
Joint pre-trial order
Trial date                                       TBD                    TBD

*Two business days before expert deposition.

       IT IS SO ORDERED.

DATED: September 23rd, 2019

                                                       ___________________________________
                                                       DUSTIN B. PEAD
                                                       UNITED STATES MAGISTRATE JUDGE

                                                 1
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  EXHIBIT C
          CASE 0:18-cv-01776-JRT-HB
 Case 3:15-md-02670-JLS-MDD         Doc.
                              Document 877618   Filed
                                            Filed     12/28/20
                                                   03/19/18    Page 12 of 18Page 1 of 2
                                                             PageID.46074


 1
 2
 3
 4                            UNITED STATES DISTRICT COURT
 5                          SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   IN RE: PACKAGED SEAFOOD                           Case No.: 15-MD-2670 JLS (MDD)
 8   PRODUCTS ANTITRUST LITIGATION
                                                       ORDER GRANTING JOINT
 9                                                     SCHEDULING PROPOSAL
10                                                     (ECF No. 876)
11
12         All Parties have proposed a scheduling order for future proceedings, (ECF No. 876).
13   The Court ADOPTS the proposed scheduling order.1 The schedule is as follows:
14         1. By May 29, 2018, Plaintiffs shall file and serve any motions for class certification
15   and expert reports and backup data in support of such motions. Plaintiffs shall make such
16   experts available for deposition.
17         2. By October 2, 2018, Defendants shall file and serve any oppositions to motions
18   for class certification and expert reports and backup data in support of such motions.
19   Defendants shall make such experts available for deposition.
20         3. By November 13, 2018, Plaintiffs shall file and serve replies to any oppositions
21   to motions for class certification.
22         4. Plaintiffs’ motions for class certification shall be heard on or about December 20,
23   2018 at 9:00 a.m.
24         5. By November 27, 2018, the Parties shall complete fact discovery.
25         6. By January 22, 2019, Plaintiffs shall serve any initial expert reports.
26
27   1
      Accordingly, the Court DENIES AS MOOT the previous proposed scheduling order, (ECF No. 871),
28   which has been superseded by the present proposal.


                                                   1
                                                                              15-MD-2670 JLS (MDD)
          CASE 0:18-cv-01776-JRT-HB
 Case 3:15-md-02670-JLS-MDD         Doc.
                              Document 877618   Filed
                                            Filed     12/28/20
                                                   03/19/18    Page 13 of 18Page 2 of 2
                                                             PageID.46075


 1           7. Plaintiffs’ experts must be made available for deposition no later than February
 2   19, 2019.
 3           8. By April 2, 2019, Defendants shall serve any opposition expert reports.
 4           9. Defendants’ experts must be made available for deposition no later than April 30,
 5   2019.
 6           10. By June 25, 2019, Plaintiffs shall serve any rebuttal expert reports.
 7           11. Plaintiffs’ experts must be made available for deposition on any rebuttal report
 8   no later than July 23, 2019.
 9           12. By August 20, 2019, the Parties shall file and serve any dispositive motions.
10           13. By October 8, 2019, the Parties shall file and serve any opposition(s) to
11   dispositive motion(s).
12           14. By November 12, 2019, any Party having filed and served a dispositive motion
13   shall file and serve any reply to opposition(s).
14           15. The Parties’ dispositive motions shall be heard on December 19, 2019 at 9:00
15   a.m.
16           IT IS SO ORDERED.
17   Dated: March 19, 2018
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                                                                               15-MD-2670 JLS (MDD)
CASE 0:18-cv-01776-JRT-HB Doc. 618 Filed 12/28/20 Page 14 of 18




  EXHIBIT D
 Case:CASE
       1:10-cv-05711
            0:18-cv-01776-JRT-HB
                     Document #: 733
                                   Doc.
                                     Filed:
                                        61809/03/14
                                             Filed 12/28/20
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                                                                  15 of #:18908
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

KLEEN PRODUCTS LLC, et al.,
individually and on behalf of
all those similarly situated,

                 Plaintiffs,
                                           No. 10 C 5711
     v.
                                           Hon. Harry D. Leinenweber
PACKAGING CORPORATION OF
AMERICA, et al.,

                 Defendants.


                    THIRD AMENDED SCHEDULING ORDER

     It is hereby ORDERED that the following                  Schedule    shall
govern further proceedings in this case.

     1.    Plaintiffs shall file their motion for class
           certification and supporting materials and shall
           disclose   their   class   certification   experts,
           including    expert    reports    and    supporting
           materials, by June 11, 2014.

    2.     Depositions of Plaintiffs’ class certification
           experts shall be taken by July 30, 2014.

    3.     Defendants   shall   file   their   opposition   to
           Plaintiffs’ motion for class certification and
           shall disclose their class certification experts,
           including    expert    reports    and    supporting
           materials, by September 19, 2014.

    4.     Depositions of Defendants’ class certification
           experts shall be taken by October 31, 2014.

    5.     Plaintiffs’ reply in support of their motion for
           class certification shall be filed by December
           19, 2014.

    6.     All fact discovery shall be completed by December
           1, 2014.
 Case:CASE
       1:10-cv-05711
            0:18-cv-01776-JRT-HB
                     Document #: 733
                                   Doc.
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                                        61809/03/14
                                             Filed 12/28/20
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    7.     Plaintiffs shall disclose their merits experts’
           opinions and required supporting material by
           February 4, 2015 and produce their experts for
           depositions within 60 days thereafter.

    8.     Defendants shall disclose their merits experts’
           opinions and required supporting material by May
           4, 2015 and produce their experts for depositions
           within 60 days thereafter.

    9.     All   dispositive  motions   shall be   filed  by
           September 1, 2015; all opposition briefs shall be
           filed by November 2, 2015; all reply briefs shall
           be filed by December 17, 2015.

    10.    The case will be ready for trial by May 2, 2016.

    11.    The modifications to the pre-existing schedule
           are being made for the reasons set forth in the
           stipulation by the parties, and no party shall be
           entitled to argue that any of the modifications,
           or any delay they may cause in a ruling on class
           certification, shall be the basis of a future
           extension of the schedule. No further extensions
           of this schedule shall be granted absent good
           cause.

    SO ORDERED.

Dated: September 3, 2014


                                    ____________________________
                                        HARRY D. LEINENWEBER
                                    United States District Judge
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   EXHIBIT E
                   Case:
Order Form (01/2005)
                      CASE
                         1:08-cv-07082
                              0:18-cv-01776-JRT-HB
                                        Document #: 224
                                                     Doc.
                                                        Filed:
                                                           61801/14/11
                                                               Filed 12/28/20
                                                                       Page 1 ofPage
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                                                                                           #:2165

                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Matthew F. Kennelly              Sitting Judge if Other
        or Magistrate Judge                                          than Assigned Judge

   CASE NUMBER                              08 C 7082                           DATE                      1/14/2011
            CASE                                        In Re: Text Messaging Antitrust Litigation
            TITLE

  DOCKET ENTRY TEXT

  PRETRIAL ORDER NO. 43: Scheduling conference held. The Court establishes the following schedule:
  Rule 26(a)(1) disclosures due 2/21/11; deadline for amending the pleadings and adding parties 8/30/11; class
  certification motion due 12/20/11, response due 2/21/12, reply 4/10/12; fact discovery to be completed by
  6/29/12; Rule 26(a)(2) disclosures regarding trial/merits experts due 7/30/12 for plaintiffs, 9/24/12 for
  defendants, and 11/12/12 for plaintiffs’ rebuttal; trial/merits expert discovery to be completed by 11/30/12;
  dispositive motion deadline 12/21/12. Further deadlines are set forth below.

  O[ For further details see text below.]                                                                          Docketing to mail notices.




                                                          STATEMENT
  The following additional deadlines are set:
  1/24/11: discovery commences; deadline for motions for entry of orders on governing discovery (document
  preservation, expert materials, confidentiality)
  2/7/11: deadline for completion of production of documents produced by defendants in connection with DOJ
  and Senate investigations
  12/21/11: deadline for plaintiffs’ Rule 26(a)(2) disclosures concerning class certification
  2/3/12: deadline for deposition of plaintiffs’ class certification experts
  2/22/12: deadline for defendants’ Rule 26(a)(2) disclosures concerning class certification
  3/23/12: deadline for deposition of defendants’ class certification experts
  4/11/12: deadline for plaintiffs’ rebuttal Rule 26(a)(2) disclosures concerning class certification
  9/10/12: deadline for deposition of plaintiffs’ trial/merits experts
  11/5/12: deadline for deposition of defendants’ trial/merits experts




                                                                                             Courtroom Deputy                 mk
                                                                                                       Initials:




08C7082 In Re: Text Messaging Antitrust Litigation                                                                                Page 1 of 1
